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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA

PENSACOLA DIVISION
IN RE:
SEIBERT, JOHN STEWART CASE NO. 18-30975-KKS
SEIBERT, ALICE LEIGH CHAPTER 7

Debtor(s).
|

 

MOTION TO SELL REAL PROPERTY SUBJECT TO
ANY AND ALL LIENS, ENCUMBRANCES, AND INTERESTS

TO: Debtor(s), Creditors, and Parties in Interest

 

 

NOTICE OF OPPORTUNITY TO
OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-2, the Court will consider the relief
requested in this paper without further notice or hearing unless a party in
interest files a response within twenty-one (21) days from the date set forth
on the proof of service plus an additional three days for service if any party
was served by U.S. Mail, or such other period as may be specified in Fed. R.
Bankr.P. 9006(f).

If you object to the relief requested in this paper, you must file an
objection or response electronically with the Clerk of the Court or by mail at
110 E. Park Avenue, Suite 100, Tallahassee, FL 32301, and serve a copy on
the Trustee, Mary W. Colén, Trustee, P. O. Box 14596, Tallahassee, FL
32317, and any other appropriate person within the time allowed. If you file
and serve a response within the time permitted, the Court will either schedule
and notify you of a hearing or consider the response and grant or deny the
relief requested without a hearing.

lf you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief request in the paper, will proceed
to consider the paper without further notice or hearing, and may grant the
relief requested.

 

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COMES NOW, Mary W. Coldén, Trustee, and moves for authority to
sell real property subject to any and all liens, encumbrances and interest,
and in support thereof states as follows:

JURISDICTION
1. This Court has jurisdiction to consider this Motion pursuant to
28 U.S.C. §§ 157 and 1334. This matter is a core proceeding
within the meaning of 28 U.S.C. §§ 157(b)(2)(A), (M), (N), and
(O).
2. Venue is proper before this Court pursuant to 28 U.S.C. §§
1408 and 1409.
3. The basis for the relief requested herein are, inter alia, 11
U.S.C. §§ 105, 363 and Federal Rules of Bankruptcy Procedure
2002 and 6004.
BACKGROUND
4. On October 26, 2018, the Debtor(s) commenced this case by
filing a voluntary petition for relief under Chapter 7 of the United
States Bankruptcy Code (the “Petition Date”).
5. Mary W. Colon was appointed Chapter 7 trustee (the

“Trustee’”).

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10.

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The Debtor(s) owns real property, by virtue of a deed, located
at 274 Lee County Rd 2170 in Phenix City, AL 36870, identified
as Lee County Parcel ID no. 43 24 01 12 0 004 235.000, and
described as follows:

Lot 89 of Autumn Creek Subdivision, located in Section 12,
Township 17N, Range 29E, Lee County, Alabama, as shown
upon a final plat of said subdivision by Barrett-Simpson, Inc.,
filed in Plat Book 30 Page 30, in the Office of the Judge of
Probate of Lee County, Alabama.

Subject to all valid and enforceable easements and restrictions
of record.

This being property conveyed to Kimberly Corbett Culpepper by
deed dated 11/6/08, recorded in Vol. 2342, Page 248, Lee
County Probate Records.

(hereinafter “the Property”)

The Trustee has accepted an offer from John Stewart Seibert
and Alice Leigh Seibert, Debtors, to purchase their interest in
the Property in the amount of $3,000.00.

Based on Debtor(s)’ schedules, Freedom Mortgage Corporation
holds a mortgage against the property in the amount of
$159,050.00.

Buyer is buying subject to any and all liens and encumbrances.

The Trustee is not aware of any other liens on the Property.

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11.

12.

13.

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AUTHORITY TO SELL
Pursuant to §363(b)(1) of the Bankruptcy Code, a trustee, after
notice and hearing, may use, sell or lease property of the estate
other than in the ordinary course of business.
Should the Trustee receive no objection to this Motion or the
contemporaneously filed Notice of Intent to Sell Real Property,
it is the intent of the Trustee to submit an Order to this Court
authorizing the Trustee to proceed to close this purchase and
distribute the proceeds according to that outlined in the Notice
of Intent to Sell Real Property.
The Trustee, in the exercise of her business judgment,
believes, and therefore avers, that the proposed sale is in the
best interest of the creditors of the bankruptcy estate insofar as
there is otherwise no equity in the Property, the Trustee is more
familiar with the current market than other interested parties,
and a sale under this motion serves the best interest of all
interested parties, including the Secured Creditors. The
purchaser has agreed, subject to Court approval, to pay to the
Trustee the sum of $3,000.00 in exchange for the Property

subject to any and all liens, encumbrances, or interests.

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WHEREFORE, the Trustee moves for the entry of an Order
substantially in the form attached hereto as Exhibit “A”:
A. Authorizing the sale of the debtor(s)’ interest in the Property to
John Stewart Seibert and Alice Leigh Seibert; and
B. Authorizing the Trustee to take any and all actions and to execute
any and all documents necessary and appropriate to effectuate
and consummate the terms of said sale of the Property subject to
any and all liens, encumbrances, or interests, including without
limitation, executing a deed conveying the interests of the
Debtor(s) or any other party claiming and interest in the Property
to the Purchaser; and
C. Granting the Trustee such other and further relief as is just and
proper.
DATED August 14, 2019.
!s/ Mary W. Colén
Mary W. Colon
Chapter 7 Trustee
Smith, Thompson, Shaw, et al
P.O. Box 14596
Tallahassee, FL 32317
Telephone: (850) 241-0144

Facsimile: 0184012
trustee@marycolon.com

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CERTIFICATE OF SERVICE

| HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE
FOREGOING has been furnished by U.S. Mail with postage prepaid to all
persons on the Court’s mailing matrix by BK Attorney Services, LLC d/b/a
certificateofservice.com on August 14, 2019.

/si Mary W. Colon
MARY W. COLON

 

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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

IN RE:
SEIBERT, JOHN STEWART CASE NO. 18-30975-KKS
SEIBERT, ALICE LEIGH CHAPTER 7

Debtor(s).
]

 

ORDER GRANTING MOTION TO SELL REAL PROPERTY
SUBJECT TO ANY AND ALL LIENS, ENCUMBRANCES
AND INTERESTS (Doc. )

 

THIS CAUSE having come before the Court upon Trustee’s Notice of
Intent to Sell Property of the Estate (Doc. ), with negative notice, and
Motion to Sell Real Property Subject to Any and All Liens,
Encumbrances and Interests (Doc. ), with negative notice, and there
being no objection filed with the Court and no hearing being required,
and the Court being otherwise fully advised in the premises.
It is hereby ORDERED as follows:
1. The relief requested in the motion is GRANTED.
2. The Trustee is authorized to sell the property identified as Lee
County parcel ID No. 43 24 01 12 0 004 235.000 to John
Steward Seibert and Alice Leigh Seibert for $3,000.00 under the

price and terms set forth in the Notice of Intent to Real Property.

EXHIBIT

Exhibit "A"

 
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3. The sale of the Property shall be “As Is, Where Is” pursuant to 11
U.S.C. § 363(b), with no warranties of any kind, subject to any
and all liens of record, as well as any and all easements,
restrictions and reservations of record, and back taxes, if any,
and current and subsequent taxes.

4. The purchaser is prohibited from defending against or
asserting any counterclaims in any foreclosure action of the
subject property.

5. The Trustee shall deposit the settlement proceeds from the sale
of the property into the bankruptcy estate’s trust account, to be
held there until this Court approves disbursement of these funds.

6. The Trustee is authorized to execute any and all documents,

including a deed to effectuate the sale.

DONE AND ORDERED on

 

 

KAREN K. SPECIE
U.S. Bankruptcy Judge
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Order Prepared by:
Mary W. Col6én, Esq.

Trustee Mary W. Colon is directed to serve a copy of this order on
interested parties and file a proof of service within three (3) days of
entry of the order.
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA

PENSACOLA DIVISION
IN RE: SEIBERT, JOHN STEWART CASE NO: 18-30975-KKS
SEIBERT, ALICE LEIGH DECLARATION OF MAILING
CERTIFICATE OF SERVICE
Chapter: 7

 

 

On 8/14/2019, | did cause a copy of the following documents, described below,
NOTICE OF INTENT TO SELL REAL PROPERTY
MOTION TO SELL REAL PROPERTY SUBJECT TO ANY AND ALL LIENS, ENCUMBRANCES, AND INTERESTS

CHAPTER 7 TRUSTEE'S MOTION TO APPROVE COMPROMISE AND SETTLEMENT BETWEEN THE TRUSTEE AND
DEBTOR(S)

to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.

| caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.

Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.

DATED: 8/14/2019

isi Mary W. Colon, Chapter 7 Trustee
Mary W. Colon, Chapter 7 Trustee

P O Box 14596
Tallahassee, FL 32317
850 241 0144
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA

PENSACOLA DIVISION
IN RE: SEIBERT, JOHN STEWART CASE NO: 18-30975-KKS
SEIBERT, ALICE LEIGH CERTIFICATE OF SERVICE
DECLARATION OF MAILING
Chapter: 7

 

On 8/14/2019, a copy of the following documents, described below,
NOTICE OF INTENT TO SELL REAL PROPERTY
MOTION TO SELL REAL PROPERTY SUBJECT TO ANY AND ALL LIENS, ENCUMBRANCES, AND INTERESTS

CHAPTER 7 TRUSTEE'S MOTION TO APPROVE COMPROMISE AND SETTLEMENT BETWEEN THE TRUSTEE AND DEBTOR
(8)

were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that | have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to

the best of my knowledge, information, and belief.

DATED: 8/14/2019

SS

Jay S. Jump

BK Attorney Services, LLC

d/b/a certificateofservice.com, for
Mary W. Colon, Chapter 7 Trustee

P O Box 14596
Tallahassee, FL 32317
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PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS “CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO

LABEL MATRIX FOR LOCAL NOTICING
11293
CASE 18-30975-KKS
NORTHERN DISTRICT OF FLORIDA
PENSACOLA
WED AUG 14 11-40-00 EDT 2019

HYUNDAI MOTOR FINANCE
PO BOX 20809
FOUNTAIN VALLEY CA 92728-0809

REMAX BY THE SEA
2395 W COUNTY HWY 30A
SANTA ROSA BEACH FL 32459-5166

CREDITORS BANKRUPTCY SERVICE
PO BOX 800849
DALLAS TX 75380-0849

BLANCA PEAK INPATIENT SVCS LLC
PO BOX 80141
PHILADELPHIA PA 19101-1141

CHOCTAWHATCHEE ELECTRIC COOPERATIVE
INC

PO BOX 512

DEFUNIAK SPRINGS FL 32435-0512

CITIBANKBEST BUY

ATTN BANKRUPTCY

PO BOX 790441

ST LOUIS MO 63179-0441

CREDIT FIRST NATIONAL ASSOCIATION
ATTN BK CREDIT OPERATIONS

PO BOX 81315

CLEVELAND OH 44181-0315

EDFINANCIAL SERVICES
120 N SEVEN OAKS OR
KNOXVILLE TN 37922-2359

BK GLOBAL REAL ESTATE SERVICES
1095 BROKEN SOUND PARKWAY SUITE 200
BOCA RATON FL 33487-3503

LAKEVIEW LOAN SERVICING LLC

CO LESLIE RUSHIN

QUINTAROS PRIETO WOOD BOYER PA
1475 CENTREPARK BLVD STE 130
WEST PALM BEACH FL 33401-7424

SANTANDER CONSUMER USA INC DBA
CHRYSLER

co CHAD D HECKMAN

PO BOX 12492

TALLAHASSEE FL 32317-2492

ADVANCED CALL CENTER TECHNOLOGIES LLC
PO BOX 9091
JOHNSON CITY TN 37615-9091

CAPITAL ONE

ATIN BANKRUPTCY

PO BOX 30285

SALT LAKE CITY UT 84130-0285

CITIBANK NA
6716 GRADE LN BLG 9 STE 910PY DEPT
LOUISVILLE KY 40213-3410

CITIBANKTHE HOME DEPOT

ATTN RECOVERYCENTRALIZED BANKRUPTCY
PO BOX 790034

ST LOUIS MO 63173-0034

DELTA DENTAL OF CALIFORNIA
FEDERAL GOVERNMENT PROGRAMS
PO BOX 537008

SACRAMENTO CA 95853-7008

EDFINANCIAL SERVICES
ATTN BANKRUPTCY

PO BOX 36008

KNOXVILLE TN 37930-6008

FREEDOM MORTGAGE CORP
CO JESSICA HICKS

PO BOX 800

TAMPA FL 33601-0800

PRA RECEIVABLES MANAGEMENT LLC
PO BOX 41021
NORFOLK VA 23541-1021

LAKEVIEW LOAN SERVICING LLC

CO LESLIE RUSHING ESQ
QUINTAIROS PRIETO WOOD BOYER PA
1475 CENTREPARK BLVD SUITE 130
WEST PALM BEACH FL 33401-7424

ARMY EMERGENCY RELIEF
2530 CRYSTAL DRIVE
SUITE 13161

13TH FLOOR

ARLINGTON VA 22202-3950

CHASE CARD SERVICES
CORRESPONDENCE DEPT

PO BOX 15298

WILMINGTON DE 19850-5298

CITIBANK NA
701 EAST 60TH STREET NORTH
SIOUX FALLS SD 57104-0493

CITY OF FREEPORT

112 HIGHWAY 20 WEST

PO BOX 339

FREEPORT FL 32439-0339

DIRECTV LLC

BY AMERICAN INFOSOURCE AS AGENT
PQ BOX 5008

CAROL STREAM IL 60197-5008

EDFINANCIAL ON BEHALF OF US DEPT OF
EDUCATI

120 N SEVEN OAKS DR

KNOXVILLE TN 37922-2359
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PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL

PARTIES WITH A '+' AND DESIGNATED AS “CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

FLAGSTAR BANK

ATTN BANKRUPTCY

3151 CORPORATE DRIVE
TROY MI 48098-2639

FREEDOM MORTGAGE CORPORATION
105000 KINCAID DR
FISHERS IN 46037

GENPACT SERVICES LLC
PO BOX 1969
SOUTHGATE MI 48195-0969

LOANCARE LLC
3637 SENTARA WAY
VIRGINIA BEACH VA 23452-4262

NAVY FEDERAL CREDIT UNION
ATTN BANKRUPTCY

PO BOX 3000

MERRIFIELD VA 22119-3000

SACRED HEART HEALTH SYSTEM
ATTN 848343C

PO BOX 14099

BELFAST ME 04915-4034

SANTANDER CONSUMER USA
ATTN BANKRUPTCY

PO BOX 961245

FORT WORTH TX 76161-0244

SYNCHRONY BANKCARE CREDIT
950 FORER BLVD
KETTERING OH 45420-1469

SYNCHRONY BANKOLD NAVY
ATTN BANKRUPTCY DEPT
PO BOX 965060

ORLANDO FL 32896-5060

FORT WALTON BEACH MEDICAL CENTER

1000 MARWALT DRIVE

FORT WALTON BEACH FL 32547-6795

FREEDOM MORTGAGE CORPORATION
ATTN BANKRUPTCY

PO BOX 50428

INDIANAPOLIS IN 46250-0401

HYUNDAI MOTOR FINANCE

ATTN BANKRUPTCY

PO BOX 20829

FOUNTAIN CITY CA 92728-0829

NATIONWIDE CREDIT INC
PO BOX 10354
DES MOINES IA 50306-0354

PMI CHATTAHOOCHEE VALLEY
PROPERTY MANAGEMENT

233 12TH ST

SUITE 743

COLUMBUS GA 31901-2446

SACRED HEART HEALTH SYSTEM
PO BOX 2728
PENSACOLA FL 32513-2728

SOUTH WALTON FIRE OISTRICT
PO BOX 1105
TARPON SPRINGS FL 34688-1105

SYNCHRONY BANKCARE CREDIT
ATTN BANKRUPTCY DEPT

PO BOX 965061

ORLANDO FL 32896-5061

SYNCHRONYBANKNAUTILUS
ATTN BANKRUPTCY

PO BOX 965060

ORLANDO FL 32896-5060

FORT WALTON BEACH MEDICAL CENTER
PO BOX 740771
CINCINNATI OH 45274-0771

GATESTONE CO INTERNATIONAL INC
465 N 3RD ST
PHOENIX AZ 85004

KINETIC CREDICT UNION
ATTN BANKRUPTCY

PO BOX 9818

COLUMBUS GA 31908-0818

NAVY FEDERAL CREDIT UNION
820 FOLLIN LANE SE
VIENNA VA 22180-4907

PYOD LLC

RESURGENT CAPITAL SERVICES
PO BOX 19008

GREENVILLE SC 29602-9008

SACRED HEART HOSPITAL EMERALD COAST
PO BOX 2488
PENSACOLA FL 32513-2488

SYNCHRONY BANKAMAZON
ATTN BANKRUPTCY DEPT
PO BOX 965060

ORLANDO FL 32896-5060

SYNCHRONY BANKLOWES
ATTN BANKRUPTCY DEPT
PO BOX 965060

ORLANDO FL 32896-5060

SYNCHRONYBANKROOMS TO GO
ATTN BANKRUPTCY

PO BOX 965060

ORLANDO FL 32896-3060
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PARTIES DESIGNATED AS “EXCLUDE” WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE” RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

USAA FEDERAL SAVINGS BANK
ATTN BANKRUPTCY

10750 MCDERMOTT FREEWAY
SAN ANTONIO TX 78288-1600

VOLKSWAGEN CREDIT INC
ATTN BANKRUPTCY

PO BOX 3

HILLBORO OR 97123-0003

ALICE LEIGH SEIBERT
674 WATERVIEW COVE DRIVE
FREEPORT FL 32439-2851

NATASHA Z REVELL

ZALKIN REVELL PLLC

WATERSIDE BUSINESS CENTER

2441 US HIGHWAY 98W STE 109
SANTA ROSA BEACH FL 32459-5386

UNITED STATES TRUSTEE

110 E PARK AVENUE

SUITE 128

TALLAHASSEE FL 32301-7728

WELLS FARGO BANK NA

WELLS FARGO HOME MORTGAGE AMERICAS
SERVICING

ATTN BANKRUPTCY DEPT MAC X7801-014
3476 STATEVIEW BLVD

FORT MILL SC 29715-7203

DEBTOR

JOHN STEWART SEIBERT
674 WATERVIEW COVE DRIVE
FREEPORT FL 32439-2851

TERESA M DORR

ZALKIN REVELL PLLC

2441 US HIGHWAY 98 SUITE 109
SANTA ROSA BEACH FL 32459-5386

VERIZON

BY AMERICAN INFOSOURCE AS AGENT
PO BOX 4457

HOUSTON TX 77210-4457

WHITE WILSON MEDICAL CENTER
PO BOX 316445
TAMPA FL 33631-3645

MARY W COLON
PO BOX 14596
TALLAHASSEE FL 32317-4596
